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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 DONALD J. TRUMP FOR                             )
 PRESIDENT, INC.; et al.,                        )
                                                 ) Civil Action
                Plaintiffs,                      )
                                                 ) No.: 2-20-CV-966
         v.                                      )
                                                 )
 KATHY BOOCKVAR; et al.,                         )
                                                 ) Judge J. Nicholas Ranjan
                Defendants.                      )

                         BRIEF IN OPPOSITION TO
          POTTER COUNTY BOARD OF ELECTIONS’ MOTION TO DISMISS

       The Rule 12 Motion to Dismiss filed by Defendant Potter County Board of Elections

(ECF#127 – Motion) should be denied for two reasons. First, in violation of this Court’s published

procedures and practices, counsel for the Potter County Election Board failed to meet and confer

with Plaintiffs’ counsel in advance of filing its Rule 12 Motion. Second, the Potter County Election

Board is an indispensable party to this litigation as all of Pennsylvania’s county boards of elections

are charged with administering elections, which under both the United States and Pennsylvania

constitutions, require that all boards conduct the upcoming election pursuant to the same standards

and procedures. Accordingly, Plaintiffs respectfully request that this Court deny the Potter County

Election Board’s Rule 12 Motion.

I.     STANDARD OF REVIEW

       This Court is well aware of the standard of review for a Rule 12 motion to dismiss, see,

e.g., Rosfeld v. Univ. of Pittsburgh, 2020 U.S. Dist. LEXIS 83187, at *8 (W.D. Pa. May 12, 2020)

(Ranjan, J.), so Plaintiffs will not belabor the issue in this Brief. The one point Plaintiffs will

emphasize, though, is that the “burden of establishing that no plausible claim has been presented

lies with the defendant.” Id.
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II.    THE COURT SHOULD DENY THE POTTER COUNTY ELECTION BOARD’S
       RULE 12 MOTION BECAUSE COUNSEL FAILED TO COMPLY WITH THIS
       COURT’S MANDATORY MEET-AND-CONFER AND CERTIFICATION
       REQUIREMENTS.

       The Potter County Election Board’s counsel failed to meet and confer with Plaintiffs’

counsel prior to filing the Rule 12 Motion. Nor does the Rule 12 motion include a certificate

stating that the defendant made a good-faith effort to confer with Plaintiffs concerning any alleged

curable deficiencies in their complaint. Thus, per this Court’s published procedures and practices,

the Motion should be denied.

       This Court’s published procedures and practices mandate that any counsel who files a Rule

12 motion “must meet and confer with plaintiff’s counsel before filing to determine whether any

purported defects with the complaint can be cured.” See Practices and Procedures of Judge Ranjan

(rev. 1/6/20), Section II(c). Further, those same procedures and practices command that “[a]ny

motion to dismiss must come with a certificate stating that the defendant has made good-faith

efforts to confer with the plaintiff to determine whether the identified pleading deficiencies

properly may be cured by amendment.” Id.. Finally, this Court’s procedures and practices make

clear that one’s failure to comply with the meet-and-confer and certification requirements will

result in a denial of the Rule 12 motion. Id. (“Motions to dismiss that do not contain the required

certification will be denied.”).

       This Court’s Local Rules provide that an assigned judge’s published procedures and

practices are binding. See L.R. 7.A (any motion filed “shall comply with the … practices and

procedures of the assigned Judge that are posted at the following internet link:

http://www.pawd.uscourts.gov/pages/chamber.htm.”).         Moreover, this Court referenced its

published procedures and practices in the Scheduling Order issued July 17, 2020. See ECF#124,

¶ 6. Therefore, all parties and their counsel have notice of this Court’s procedures and practices.



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       The Potter County Election Board’s Rule 12 motion fails to comply with this Court’s meet-

and-confer and certification requirements. The Potter County Election Board’s counsel did not

reach out to Plaintiffs’ counsel for a meet-and-confer prior to filing the Motion. See attached

Certification. Nor does the Motion include the required Rule 12 motion certificate. See generally

ECF#127.

       Accordingly, consistent with this Court’s published procedures and practices, this Court

should deny the Potter County Election Board’s Rule 12 Motion.

III.   THE POTTER COUNTY ELECTION BOARD IS AN INDISPENSABLE PARTY;
       THUS, THE COURT SHOULD DENY ITS RULE 12 MOTION.

       Because this action alleges federal and state constitutional violations due to a patchwork

of different rules and practices from county-to county in a statewide election involving federal and

state candidates, the Potter County Election Board is an indispensable party. Thus, its Rule 12

Motion should be denied.

       Rule 19 of the Federal Rules of Civil Procedure provides the test for determining whether

a party is indispensable in a federal action. See Fed. R. Civ. P. 19. A party is indispensable if they

are needed to resolve the matter. See Zambelli Fireworks Mfg. Co. v. Wood, 592 F.3d 412, 421

(3d Cir. 2010) (“parties are indispensable if ‘in the circumstances of the case [they] must be before

the court.’”) (citation omitted). “In other words, indispensable parties are ‘“[p]ersons who not

only have an interest in the controversy, but an interest of such a nature that a final decree cannot

be made without either affecting that interest, or leaving the controversy in such a condition that

its final termination may be wholly inconsistent with equity and good conscience.”’” Zambelli

Fireworks, 592 F.3d at 421 (citations omitted).

       As Plaintiffs state in their Complaint, it is the county boards of elections that are required

to enforce the election laws at issue in this litigation. See Complaint (ECF # 4), ¶ 17. For example,

under Pennsylvania law, county boards are responsible for administering virtually all aspects of
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the primary and general elections. See 25 P.S. § 2641(a) (“There shall be a county board of

elections in and for each county of this Commonwealth, which shall have jurisdiction over the

conduct of primaries and elections in such county[.]”); 25 P.S. § 2642 (“The county boards of

elections, within their respective counties, shall exercise, in the manner provided by this act, all

powers granted to them by this act, and shall perform all the duties imposed upon them by this act,

which shall include” 16 different subparagraphs). 1 Indeed, county boards of elections, rather than

the Secretary of State, are responsible to mail out, receive, count, and verify absentee and mail-in

ballots. See, e.g., 25 P.S. §§ 3146.5, 3146.6(a) & (c), 3146.8(g)(3), 3150.15, 3150.16(a) & (c).

The county boards of election also are the entities to issue “certificates of appointment to watchers

at primaries and elections.” 25 P.S. § 2642(e). Finally, county boards of elections are responsible

for “instruct[ing] election officers in their duties … to the end that primaries and elections may be

honestly, efficiently, and uniformly conducted.” 25 P.S. § 2642(g) (emphasis added). Thus, any

order or judgment entered by this Court regarding the administration of the upcoming general

election would need to be directed to each county board of elections to have the necessary effect.

See, e.g., Adamietz v. Smith, 273 F.2d 385, 387 (3d. Cir. 1960) (“[T]he question of indispensability

of parties is dependent not on the nature of the decision attacked but on the ability and authority

of the defendant before the court to effectuate the relief which the party seeks.”).

       The U.S. Constitution2 requires that elections, at least those with statewide and national

candidates/issues, be conducted pursuant to the same standards across the Commonwealth. The



1
 The Secretary of the Commonwealth’s role in the election process is set out in 25 P.S. § 2621
and does not include any role that allows her to oversee the county boards, except the authority to
order a recount or recanvass in limited situations. See also Complaint (ECF # 4), ¶ 16.
2
  In statewide elections involving federal candidates, “a State’s regulatory authority springs
directly from the United States Constitution.” Project Vote v. Kelly, 805 F. Supp. 2d 152, 174
(W.D. Pa. 2011) (citing Cook v. Gralike, 531 U.S. 510, 522-523 (2001); U.S. Term Limits, Inc. v.
Thornton, 514 U.S. 779, 805 (1995)).

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right of qualified citizens to vote in a state election involving federal candidates is recognized as a

fundamental right under the Fourteenth Amendment of the United States Constitution. See Bush

v. Gore, 531 U.S. 98, 104-105 (2000) (“Equal protection applies as well to the manner of its

exercise. Having once granted the right to vote on equal terms, the State may not, by later arbitrary

and disparate treatment, value one person’s vote over that of another.”); Harper v. Virginia State

Board of Elections, 383 U.S. 663, 665 (1966); Reynolds v. Sims, 377 U.S. 533, 554 (1964).

        Indeed, ever since the Slaughter-House Cases, 83 U.S. 36 (1873), the United States

Supreme Court has held that the Privileges and Immunities Clause of the Fourteenth Amendment

protects certain rights of federal citizenship from state interference, including the right of citizens

to directly elect members of Congress. See Twining v. New Jersey, 211 U.S. 78, 97 (1908) (citing

Ex parte Yarbrough, 110 U.S. 651, 663-64 (1884)). See also Oregon v. Mitchell, 400 U.S. 112,

148-49 (1970) (Douglas, J., concurring) (collecting cases). Similarly, once “the state legislature

vests the right to vote for President in its people, the right to vote ... is fundamental ...,” Bush, 531

U.S. at 104 , such that “[a] significant departure from the legislative scheme for appointing

Presidential electors presents a federal constitutional question.” Bush, 531 U.S. at 113 (Rehnquist,

J., concurring). See also Smiley v. Holm, 285 U.S. 355, 365 (1932). Further, “[e]very voter in a

federal … election, … has a right under the Constitution to have his vote fairly counted, without

its being distorted by fraudulently cast votes.” Anderson v. United States, 417 U.S. 211, 227

(1974). See also Reynolds, 377 U.S. at 555 (“the right of suffrage can be denied by a debasement

or dilution of the weight of a citizen’s vote just as effectively as by wholly prohibiting the free

exercise of the franchise”); id. at 560 (“in statewide and in congressional elections, one person’s

vote must be counted equally with those of all other voters in a State”).

        Consequently, the Fourteenth Amendment requires states to “‘avoid arbitrary and disparate

treatment of the members of its electorate.’” Charfauros v. Bd. of Elections, 249 F.3d 941, 951

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(9th Cir. 2001) (quoting Bush, 531 U.S. at 105); see also Dunn v. Blumstein, 405 U.S. 330, 336

(1972) (“[A] citizen has a constitutionally protected right to participate in elections on an equal

basis with other citizens in the jurisdiction.”); Gray v. Sanders, 372 U.S. 368, 380 (1963) (“The

idea that every voter is equal to every other voter in his State, when he casts his ballot in favor of

one of several competing candidates, underlies many of [the Supreme Court’s] decisions.”).

“[T]reating voters differently” thus “violate[s] the Equal Protection Clause” when the disparate

treatment is the result of arbitrary, ad hoc processes. Charfauros, 249 F.3d at 954. Indeed, a

“minimum requirement for non-arbitrary treatment of voters [is] necessary to secure the

fundamental right [to vote].” Bush, 531 U.S. at 105.

       The use of “standardless” procedures can violate the United States Constitution. Bush, 531

U.S. at 103. “The problem inheres in the absence of specific standards to ensure … equal

application” of even otherwise unobjectionable principles. Id. at 106. Any voting system that

involves discretion by decision makers about how or where voters will vote must be “confined by

specific rules designed to ensure uniform treatment.” Id. Hence, allowing a patchwork of different

rules from county to county in a statewide election involving federal and state candidates

implicates equal protection concerns. Pierce v. Allegheny County Bd. of Elections, 324 F. Supp.

2d 684, 698-699 (W.D. Pa. 2003). See also Gray, 372 U.S. at 379-81 (a county unit system which

weights the rural vote more heavily than the urban vote and weights some small rural counties

heavier than other larger rural counties violates the Equal Protection Clause and its one person,

one vote jurisprudence).

       The Pennsylvania Constitution also bestows the right to vote upon qualified citizens and

guarantees them equal protection in the enjoyment of that right. See Pa. Const. art. VII, § 1 & art.

I, § 28. Further, Article I, Section 5 of the Pennsylvania Constitution, entitled “Elections” and

commonly referred to as the “Free and Equal Elections Clause,” provides that “[e]lections shall be

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free and equal; and no power, civil or military, shall at any time interfere to prevent the free

exercise of the right of suffrage.” Pa. Const. art. I, § 5. Thus, much like the United States

Constitution, the Pennsylvania Constitution protects against a patchwork of different rules from

county to county in a statewide election involving federal and state candidates in violation of the

one person, one vote jurisprudence. League of Women Voters v. Commonwealth, 178 A.3d 737,

810-11 (Pa. 2018).

       In light of the manner in which elections are administered in Pennsylvania, the only way

to ensure constitutional protection for Plaintiffs is to include each county board of elections as a

party to this litigation.   Plaintiffs represent one Presidential candidate, four Congressional

candidates (who also are Pennsylvania registered voters), and two additional Pennsylvania

registered voters who are seeking to serve as poll watchers in counties outside their residences.

The uniformity requirements means that if even one county board of elections (such as the Potter

County Election Board) was not required to follow the same law as it relates to administration of

the election, this Court could not grant complete relief. See Fed. R. Civ. P. 19(a)(1)(A) (a party

must be joined if “in that person’s absence, the court cannot accord complete relief among existing

parties.”); see also Fed. R. Civ. P. 19(a)(1)(B)(ii) (a party must be joined if “in the person’s

absence,” another party may be “subject to a substantial risk of … otherwise inconsistent

obligations”).

       Accordingly, this Court should deny the Potter County Election Board’s Motion.

IV.    CONCLUSION

       The Potter County Election Board’s Motion fails to comply with this Court’s published

procedures and practices for the filing of a Rule 12 motion. Those procedures and practices

expressly warn that failure to do so will result in the denial of the motion. Thus, this Court should

deny the Potter County Election Board’s Motion.

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       Alternatively, the Potter County Election Board is an indispensable party to this litigation.

This case seeks to enforce the law throughout Pennsylvania as it relates to the conduct of the

upcoming general election, which is necessary to ensure Plaintiffs’ federal and state constitutional

rights are guaranteed. The individual county boards of elections in Pennsylvania are responsible

for administering virtually all aspects of the primary and general elections. Therefore, all county

boards of elections are necessary parties.

       Accordingly, this Court should deny the Rule 12 Motion filed by the Potter County Election

Board. Plaintiffs attach a form Order granting this requested relief.

                                                 Respectfully submitted,

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                              CERTIFICATION OF COUNSEL

       As counsel for Plaintiffs, we hereby certify, under penalty of perjury and 28 U.S.C. §1746,

that counsel for the Potter County Board of Elections did not reach out to counsel for Plaintiffs to

engage in the required meet and confer prior to filing the Motion.


                                                 Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

             I hereby certify that I caused a true and correct copy of the foregoing Brief to be filed this

24th day of July, 2020, via ECF, which system will serve notice of same on all parties registered

to receive same via the ECF system. For any party who has yet to enter an appearance, the

undersigned certifies that a copy of the foregoing filing will be served on that party via Overnight

Mail and a copy sent to the County Solicitor, if known, via email or fax.

                                                       Respectfully submitted,

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